                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
vs.                                         )    No. 08-4025-01-CR-C-SOW
                                            )
ARTHUR LEE RAINEY, JR.,                     )
                                            )
                      Defendant.            )

                                            ORDER

       Before the Court is the Report and Recommendation (see Doc. # 38) of United States

Magistrate Judge William A. Knox as to defendant Arthur Lee Rainey, Jr’s Motion to Suppress.

On January 12, 2009, defendant Rainey filed a Motion to Suppress Evidence (see Doc. # 31).

The Government filed Suggestions in Opposition and a Suppression Hearing was held in this

matter on February 19, 2009. The Report and Recommendation finds that defendant Rainey’s

arguments presented at the Suppression Hearing do not support suppression of the evidence in

question and recommends that defendant Rainey’s Motion to Suppress be denied. In his

objection to the Report and Recommendation, defendant Rainey objects to certain findings of

fact and conclusions of law by Magistrate Judge Knox.

       After a thorough review of the Report & Recommendation and defendant Rainey’s

objections to it, the Court agrees with and adopts, in its entirety, the Report & Recommendation

of Magistrate Judge Knox. The Court finds no reason to comment further on this matter as the

Report & Recommendation is thorough and well-reasoned.

       Accordingly, it is hereby

       ORDERED that the Court adopts, in its entirety, the Report & Recommendation of




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Magistrate Judge Knox. It is further

       ORDERED that, pursuant to the findings in the Report & Recommendation, defendant

Arthur Lee Rainey, Jr.’s Motion to Suppress (Doc. # 31) is denied.




                                       ___/s/ Scott O. Wright_____________
                                       SCOTT O. WRIGHT
                                       Senior United States District Judge

Dated: __4/8/2009___________




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